Case 1:19-cr-00018-ABJ Document 165 Filed 07/16/19 Page 1 of 18

Government |]

UNITED STATES OF AMERICA

 

 

 

 

Plaintiff L_] vs. Civil/Criminal No. _19-cR-018
Defendant L_ ROGER J. STONE, JR.
Joint [
Court [v ]
EXHIBIT DESCRIPTION OF EXHIBITS MARKED RECEIVED WITNESS EXHIBITS
NUMBER FOR I.D. IN SENT INTO
EVIDENCE JURY
(date & time)
Exhibits used by the Court at the hearing
held on July 16, 2019 7/16/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Roger Stone Says Michael Cohen Is Lying About His Conversations With Trump And W... Page | of 7

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POLITICS

Roger Stone Says
Michael Cohen Is
Lying, After Stone Was
Ordered Not To
Comment On The
Mueller Investigation

Cohen said in his prepared remarks that Stone told
Trump in a call in July 2016 that Stone had talked to
Assange and there would be an email dump damaging to
Hillary Clinton's campaign.

Zoe Tillman
BuzzFeed News Reporter

 

. . Reporting From
__ Washington,
be
Last updated on February 27, 2019, at 2:26 p.m. ET
Posted on February 27, 2019, at 11:04 a.m. ET

 

https://www.buzzfeednews,.com/article/zoetillman/roger-stone-michael-cohen-trump-wikil... 7/15/2019
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Roger Stone Says Michael Cohen Is Lying About His Conversations With Trump And W... Page 2 of 7

 

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Roger Stone leaves the federal courthouse in Washington, DC, on Feb. 21.

Alex Wong / Getty Images

WASHINGTON — Roger Stone pushed back against
Michael Cohen's claims that Stone told Trump in July
2016 that he had spoken to WikiLeaks founder Julian
Assange about an email dump that would hurt Hillary

 

Clinton's campaign, saying in a text message to
BuzzFeed News: "Mr. Cohen's statement is not true.”

Stone's text, which he made clear was a "statement,"
was just the one sentence, and he did not explain what
exactly about Cohen's testimony he maintained was
false. Stone, who is facing criminal charges for lying
to Congress, is under a gag order not to publicly
comment on his case, special counsel Robert Mueller's
investigation, or any "participants" in his case or the
investigation.

A spokesperson for the special counsel's office
declined to comment on whether they believe Stone's
statement complies with the judge's order.

https://www. buzzfeednews.com/article/zoetillman/roger-stone-michael-cohen-trump-wikil... 7/15/2019
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Roger Stone Says Michael Cohen Is Lying About His Conversations With Trump And W... Page 3 of 7

Cohen is testifying Wednesday before the House
Oversight Committee. Cohen told members in his
opening statement Wednesday that Trump knew in

 

advance that WikiLeaks planned to release emails in
July 2016 that would harm Clinton's presidential bid.
On July 22, 2016, WikiLeaks released tens of thousands
of emails from the Democratic National Committee —
emails that Mueller's office has charged Russian
nationals with hacking and providing to WikiLeaks.
Over the next few months leading up to the election,
WikiLeaks would also release emails stolen from the
chair of Clinton's campaign, John Podesta.

Cohen told Congress that in July 2016, shortly before
the Democratic National Convention, which began on
July 25, he was in Trump's office when Stone called.

He later testified that he believed he learned about the
upcoming WikiLeaks release of DNC emails on July 18
or 19 — but he said he did not know if Stone and
Trump knew where the emails had come from.

"Mr. Trump put Mr. Stone on the speakerphone,"
Cohen said in his statement. "Mr. Stone told Mr.

Trump that he had just gotten off the phone with
Julian Assange and that Mr. Assange told Mr. Stone
that, within a couple of days, there would be a massive
dump of emails that would damage Hillary Clinton’s
campaign."

https://www. buzzfeednews.com/article/zoetillman/roger-stone-michael-cohen-trump-wikil... 7/15/2019
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Roger Stone Says Michael Cohen Is Lying About His Conversations rs Tru at Ra we, Page 4 of 7

Cohen said that Trump replied "to the effect of,
‘wouldn't that be great." :

Stone is charged with lying to Congress about his
contacts with WikiLeaks. The indictment doesn't
allege that Stone personally communicated with
Assange or anyone else associated with WikiLeaks, but
it accuses him of lying about directing associates to
contact the group, and about telling Trump campaign
officials about WikiLeaks and "intended future
releases."

WikiLeaks and Stone have denied direct
communications between Stone and Assange. In a Feb.
15 tweet responding to reports that federal
prosecutors had communications between Stone and
WikiLeaks, the group published a screenshot of a
direct message exchange between Stone and the
group in October 2016, with Stone criticizing
WikiLeaks for "attacking" him, and WikiLeaks
accusing Stone of making "false claims of association."

& CNN @CNN - Feb 15, 2019
JUST IN: Special counsel prosecutors say they have
communications of Roger Stone with WikiLeaks cnn.it/2Ecet7f

 

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@wikileaks via Twitter / Via Twitter: @wikileaks

On Wednesday, the WikiLeaks Twitter account
tweeted that Assange "has never had a telephone call
with Roger Stone." The group said it had teased
releases of “publications on Hillary Clinton" — in June
2016, Assange said in an interview that WikiLeaks was
going to publish more emails that Clinton sent or
received while she was Secretary of State, but those
comments didn't address emails stolen from the DNC.

“1 Wikileaks
% " @wikileaks

STATEMENT on Michael Cohen testimony to Congress:

WikiLeaks publisher Julian Assange has never had a

telephone call with Roger Stone. WikiLeaks publicly teased its

pending publications on Hillary Clinton and published > 30k of

her emails on 16 March 2016. wikileaks.org/clinton-emails/
9,292 2:09 PM - Feb 27, 2019

7,079 people are talking about this

@wikileaks via Twitter | Via Twitter: @wikileaks

According to the indictment that a grand jury
returned in the DNC hacking case brought by
Mueller's office, WikiLeaks confirmed via email to the
Russian defendants in July 18, 2016 that the
organization had the DNC documents and planned to
release them "this week."

https://www. buzzfeednews.com/article/zoetillman/roger-stone-michael-cohen-trump-wikil... 7/15/2019
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Stone's indictment quotes emails that he allegedly
sent in July and August 2016 to one of his associates,
Jerome Corsi, about potentially communicating with
Assange at the Ecuadorian embassy in London, where
Assange has lived since 2012, about getting more
emails after the July 22, 2016, release by WikiLeaks.

"Get to [the head of Organization 1]," Stone wrote to
Corsi on July 25, 2016, according to the indictment.
"Get to [the head of Organization 1] [a]t Ecuadorian
Embassy in London and get the pending
[Organization 1] emails... they deal with Foundation,
allegedly."

During Wednesday's hearing, Rep. Debbie Wasserman
Schultz — who resigned as DNC chair in July 2016 after
the WikiLeaks release — asked Cohen if he believed
Trump "explicitly or implicitly" directed Stone to
contact WikiLeaks and say the campaign was
interested in hacked materials. Cohen replied, "I'm
not aware of that."

Cohen testified that Stone was not acting as an agent
of the campaign, characterizing him as a "free agent."

"He frequently reached out to Mr. Trump, and Mr.
Trump was very happy to take his calls," Cohen said.
"It was free service."

This is a developing story. Check back for updates.

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(Donald Trump ) ( Russia)

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Zoe Tillman is a legal reporter with BuzzFeed News and is
based in Washington, DC.

 

Contact Zoe Tillman at zoe.tillman@buzzfeed.com.

Got a confidential tip? Submit it here.

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~Screenshot courtesy of Shelby Holliday

 
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Former Tiuamip adviser Reger Stone pasted an unage depicting House Intelligence Con matey Chauman Adan Schl,
aiemocrat, with me word "HULLSCHIFFE” on March 29

SCREENSHOT/INSTAGRAM
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rogerstenajr How curious ? What could they
possibly be hiding ? #cnnhes #crnfakenews
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sinan_retired What happened to America?

 
    

  

FBI ARRESTS ROGER STONE

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The FBI rejected an open records OO 8 LJ
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from CNN just prior to a pre-dawn

FBI raid on the Florida home of

Roger Stone. Og

 
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The judge in Roger Stone's case wants to review Blacked-out
sections of the Mueller report ag she weighs a bid by Stone's
lawyers to dismiss the case. | Win McNamee/Getty images

LEGAL
Judge demands unredacted Mueller
report in Roger Stone case

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Roger Stone Swings For
The Fences; Court Filing
Challenges Russiagate’s
Original Premise

May 12, 2019

 

   

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and hung for treason.

 
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“.\  ragerjstonejr But where is the

Ww @NYTimes? @washingtonpost ?
@WSP @CNN?
#rogerstonedidnothingwrong #maga

#trump

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FBI Never Saw CrowdStrike Unredacted
or Final Report on Alleged Russian
Hacking Because None was Produced
consortiumnews.com

 

 

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exposes the ‘intelligence
community's’ betrayal of
their responsibilities

By Thomas Lifson

As the Russia Hoax is being unwound, we
are learning some deeply disturbing lessons
about the level of corruption at the top levels
of the agencies charged with protecting us
from external threats. One jaw-dropping
example has just been exposed by the legal
team defending Roger Stone.

 

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221 likes

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rogerjstonejr Funny, No @nytimes or
@washingtanpost coverage of this
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#rogerstonedidnothingwrong

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audratoop Sarcasm, right? Because if
you didn’t know, it's almost like those
who started the Russian Collusion

bullshit are the ones who write for
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ryansomething give em hell Roger
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FBI Never Saw
CrowdStrike

Unredacted or Final
Report on Alleged
Russian Hacking
Because None was

Produced

June 17, 2019 * 102 Comments

 

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The FBI relied on

 

OF

CrowdStrike’s

rogerjstonejr + Fallow

rogarjstonejr The truth is slowly
emerging. #NoCollusion
#rogerstonedidnothingwrong

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4)

lunantandowner Some of us knew
most of this two years ago, So
frustrating!

To 2 hkes opty
mesomorph2! The whole thing is a
scam! This trial is a charade and a

disgrace to law enforcement.
Everything started on a lie and makes

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